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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:21-cv-62411-WPD

  MARYANN MANGANIELLO,

               Plaintiff,

                vs.

  DYNAMIC RECOVERY SOLUTIONS,
  LLC,

               Defendant.



                                    ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court sua sponte.

         On January 4, 2021, the Court issued an Order [DE 11] directing the parties to agree upon

  a mediator within fourteen (14) days and to advise the Clerk’s office of their choice. From the

  record, it appears that the parties have not yet selected a mediator.

         Accordingly, it is ORDERED AND ADJUDGED that the parties shall file a response to

  this Order to Show Cause by January 26, 2022, showing cause why the Clerk should not be

  directed to randomly select a mediator from the list of certified mediators. Failure to comply with

  this Order will result in the Clerk selecting a mediator at random.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 19th day of January, 2022.




  Copies furnished to:
  Counsel of Record
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